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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION


 DAMIAN STINNIE, MELISSA
 ADAMS, and ADRAINNE JOHNSON,
 individually, and on behalf of all others
 similarly situated; WILLIEST BANDY,                   Civ. No: 3:16-cv-00044
 and BRIANNA MORGAN, individually,
 and on behalf of all others similarly
 situated,

            Plaintiffs,

                    v.

 RICHARD D. HOLCOMB, in his official
 capacity as the Commissioner of the
 VIRGINIA DEPARTMENT OF MOTOR
 VEHICLES,

             Defendant.


               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Plaintiffs Damian Stinnie, Melissa Adams, Adrainne Johnson, Williest Bandy and

Brianna Morgan, move the Court to order preliminary injunctive relief. Plaintiffs ask the Court to

(1) enjoin the Commissioner from enforcing Section 46.2-395 against Plaintiffs and the Future

Suspended Class Members without notice and determination of ability to pay; (2) remove any

current suspensions of the Plaintiffs’ driver’s licenses imposed under Section 46.2-395; and

(3) enjoin the Commissioner from charging a fee to reinstate the Plaintiffs’ licenses if there are

no other restrictions on their licenses.

        The Court should award this relief. Plaintiffs are likely to succeed on the merits of their

claims asserting constitutional injury; Plaintiffs have suffered and will continue to suffer
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irreparable harm without preliminary injunctive relief; the equities weigh in Plaintiffs’ favor; and

the public interest counsels in favor of issuing a preliminary injunction.

       The arguments for and scope of this relief are more fully set forth in the accompanying

memorandum in support of this motion, and those arguments are incorporated here. See Local

Civil Rule 11(c)(1). Plaintiffs ask this Court to grant this motion, enter the proposed order

attached to this motion as Exhibit 1, and afford all other appropriate relief.

Date: September 11, 2018

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                              CERTIFICATE OF SERVICE
       I hereby certify that on September 11, 2018, I electronically filed the foregoing

Memorandum of Law in Support of Plaintiffs’ Motion for Class Certification with the Clerk of

Court using the CM/ECF System, which will send a notification of such filing to the following

CM/ECF participants:

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